                                 UNITED STATES DISTRICT COURT
                                EASTERN AND WESTERN DISTRICTS OF WISCONSIN
                                            OFFICE OF THE CLERK


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                                 NOTICE REGARDING DISCOVERY


          The discovery phase of a case begins after the defendant answers the complaint. After
   the answer is filed, the Court will enter a scheduling order setting deadlines for the parties to
   complete all discovery and to file dispositive motions.

          During the discovery phase of the case, the parties exchange information about the case.
   Pursuant to Rule 5(d) of the Federal Rules of Civil Procedure,

           …disclosures under Rule 26(a)(1) or (2) and the following discovery requests and
           responses must not be filed [with the court] until they are used in the proceeding
           or the court orders filing: depositions, interrogatories, requests for documents or
           tangible things…and requests for admission.

   In other words, you must serve discovery requests on counsel for the defendants by mail or other
   means of delivery. Do not file or e-file interrogatories, requests to produce, or requests
   for admission with the Court unless the other party fails to properly respond and they are relevant
   to a motion to compel or other appropriate motion.




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